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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Bodyguard Productions, Inc.
                                     Plaintiff,
v.                                                      Case No.: 1:18−cv−00360
                                                        Honorable Elaine E. Bucklo
Doe No. 4, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 11, 2018:


       MINUTE entry before the Honorable Elaine E. Bucklo: Status hearing held on
5/11/2018 and continued to 7/20/2018 at 9:30 a.m. Plaintiff's oral motion for leave to file
an amended complaint is granted and shall be filed 7/16/2018. Mailed notice. (mgh, )




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